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                    Exhibit K
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FD-302 (Rev. 5-8-10)                                                                                                                                 C..C.l'l'h 'r:i.ul(�!,; ��.,. d>;i til '1 ,��1\:1
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                                                                                                                         Date of entry        09/06/2022


          On April 12, 2022, JESSE MARTZ (MARTZ), formerly employed at Archegos
       Capital Management (Archegos), was interviewed at the United States
       Attorney's Office, Southern District of New York, located at One Saint
       Andrew's Plaza, New York, New York 10007. Present during the interview was
       MARTZ's legal counsel Deborah Colson and Rosalyn Huff from Colson Law;
       Special Agent (SA) Andreas M. Economou-Ellison, SA Thomas McDonald, and
       Forensic Accountant Jessica Dibugno from the Federal Bureau of
       Investigation; Assistant United States Attorney (AUSA) Andrew Thomas, AUSA
       Matthew Podolsky, and AUSA Alexander Rossmiller from the United States
       Attorney's Office, Southern District of New York; Osman Nawaz and Brian
       Fitzpatrick from the Securities and Exchange Commission; and Ben Rankin,
       Alejandra de Urioste, Jack Murphy, and Jacob Mermelstein from the Commodity




   Investigationon 04/12/2022 at New York, New York, United States (In Person)
   fik# 318B-NY-3416770                                                                                                      Date drafted 04/13/2022
   by ECONOMOU-ELLISON ANDREAS MICHAEL, Thomas w. McDonald, DIBUGNO JESSICA MARY
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           Swap confirms for brokers were typically automatic, but MUFG did not have
        an automatic system set up to trade swap. Because of this, MARTZ had to
        confirm each trade that had to be done. BECKER walked MARTZ through the




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        process of how to confirm a trade order, price, and trade date, which was
        done through order manager through Axio. MARTZ then sent this information to
        HALLIGAN to electronically sign before sending it to MUFG.




           When Archegos traded with MUFG, MUFG sent the swap confirms and then
        MARTZ would open them up to make sure the trade dates and settlement dates
        matched as well as to confirm the name traded, number of shares, price, and
        notional amount, which was found in the Axio system. Once MARTZ made the
        checks, he would email it to HALLIGAN and HALLIGAN would respond back
        “signed.” MARTZ would then send it to MUFG. MARTZ did not recall
        conversations with HALLIGAN about the confirm process. MARTZ did not play a
        role in Archegos’s relationship with MUFG. MARTZ was not responsible for
        negotiating contracts and ISDAs.




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